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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )             CASE NO. 8:02CR194
                                                )
              Plaintiff,                        )
                                                )                     ORDER
              vs.                               )
                                                )
ARTURO CARDENAS-GUTIERREZ,                      )
                                                )
              Defendant.                        )

       This matter is before the court on plaintiff’s Motion for Extension to File Brief in

Support of Plaintiff’s Answer (Filing No. 134) and defendant’s Motion for Summary

Judgment (Filing No. 132).

       On July 11, 2005, the United States filed a Motion to Strike requesting that this court

enter an Order striking the brief it filed in support of its Answer to defendant’s Motion Under

28 U.S.C. § 2255 (§ 2255 motion) because the document it filed was the wrong version of

the brief. On July 12, 2005, this court issued an Order striking the brief and granting the

United States’ request to file a brief out of time. In its Motion currently before the court, the

United States explains that it inadvertently failed to file the correct version of the Brief and

requests additional time in which to file the Brief. The Court will grant the United States’

motion.

       In defendant’s motion for summary judgment (Filing No. 132) defendant requests

that this court grant his § 2255 motion due to the United States’ failure to file an Answer

or supporting brief responding to his § 2255 motion within the time given by the court. That

motion is denied.
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IT IS ORDERED:

      1.     Plaintiff’s Motion for Extension to File Brief in Support of Plaintiff’s Answer

(Filing No. 134) is granted; and

      2.     Defendant’s Motion for Summary Judgment (Filing No. 132) is denied.



      DATED this 20th day of March, 2006.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge




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